           Case: 24-1219 Document:
Case 2:22-cv-10918-MFL-APP ECF No. 10-1   Filed: 05/23/2024
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                                                       Filed 05/23/24




                                        Case No. 24-1219

                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT

                                            ORDER

ELIZABETH NELSON; ALBERT D. THROWER

              Plaintiffs - Appellants

v.

SERVICE TOWING, INC., et al.

              Defendants - Appellees



     Upon consideration of Defendant – Appellee Michigan Department of State’s motion to be

 dismissed as a party to this appeal,

     It is ORDERED that the motion is GRANTED and Michigan Department of State is

DISMISSED as a party to this appeal.



                                                ENTERED PURSUANT TO RULE 45(a),
                                                RULES OF THE SIXTH CIRCUIT
                                                Kelly L. Stephens, Clerk


 Issued: May 23, 2024
           Case: 24-1219 Document:
Case 2:22-cv-10918-MFL-APP ECF No. 10-2   Filed: 05/23/2024
                                   111, PageID.2191            Page: 1 Page 2 of 2 (2 of 2)
                                                       Filed 05/23/24




                     United States Court of Appeals for the Sixth Circuit



U.S. Mail Notice of Docket Activity

The following transaction was filed on 05/23/2024.

Case Name: Elizabeth Nelson, et al v. Service Towing, Inc., et al
Case Number: 24-1219

Docket Text:
ORDER filed granting motion to dismiss party [7154114-2] filed by Mr. Scott Lawrence
Damich. Michigan Department of State is DISMISSED as party to this appeal.

The following documents(s) are associated with this transaction:
Document Description: Order

Notice will be sent to:

Elizabeth Nelson
P.O. Box 1422
Warren, MI 48090

Albert D. Thrower
P.O. Box 6702
Cleveland, OH 44101

A copy of this notice will be issued to:

Ms. Kinikia D. Essix
Ms. Jennifer Ellen Mead
Ms. Rachel Catherine Selina
Mr. Thomas H. Stidham
Mr. Mark E. Straetmans
